UNITED STATES DISTRICT COURT
DISTRICT OF MARYLAND
Southern Division

 

ROBERT ROTHMAN et al.
FILED UNDER SEAL
Plaintiffs,

— against — Case No. PJM-20-3290
DANIEL SNYDER

Defendant,

 

 

PLAINTIFFS’ EMERGENCY MOTION FOR
A TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

Plaintiffs Robert Rothman, Dwight C. Schar, and Frederick W. Smith (“Plaintiffs”)
respectfully submit Plaintiffs’ Emergency Motion for a Temporary Restraining Order and
Preliminary Injunction (“Emergency TRO/PI Motion’) and hereby move. pursuant to Federal
Rule of Civil Procedure 65, for a temporary restraining order and preliminary injunction against
Defendant Daniel Snyder, and for the reasons stated herein and in the accompanying Memorandum
of Law in support of the Emergency TRO/PI Motion incorporated herein.

As described in detail within Plaintiffs’ Memorandum of Law, Plaintiffs have provided
specific facts that clearly show that immediate and irreparable injury, loss. or damage will result
to the Plaintiffs without the granting of the relief requested herein.

As described in detail within Plaintiffs’ Memorandum of Law, Plaintiffs are likely to
succeed on the merits of the above-captioned action, Plaintiffs will suffer irreparable injury if the
requested relief is not issued, Defendant Daniel Snyder will not be harmed if the requested relief
is issued, and the public interest favors the entry of the temporary restraining order and preliminary

injunction requested herein.
For these reasons, and for the reasons described in the accompanying Memorandum of
Law, Plaintiffs respectfully request that this Court, grant this Emergency TRO/PI Motion and issue
a temporary restraining order followed by a preliminary injunction:

(1) Ordering that Defendant Daniel Snyder is precluded from exercising any rights of first

refusal under the Stockholders Agreement on the basis | ere

ee eS and it is further issue a permanent Order restricting all parties from

disclosing any information, pleadings and/or documents obtained in the above-
captioned matter to any third-party; and

(2) Ordering that Defendant Daniel Snyder is precluded from purportedly exercising his

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(3) Ordering that Defendant Daniel Snyder is precluded, on the basis of his November 9,
2020 notices of intention to pil. el eS eee | from
impeding Plaintiffs’ efforts to accept the purchase proposal embodied in the Letter of
Intent, including without limitation by impeding reasonable business, financial, legal
and tax due diligence of Washington Football Inc.; and

(4) Ordering that Defendant Daniel Snyder is enjoined from pursuing in arbitration his

claims for injunctive relief on the same issues now pending before this Court.
Dated: November 16, 2020
Bethesda, MD

Respectfully submitted,

/s/

 

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Attorneys for Plaintiffs
CERTIFICATE OF SERVICE

I hereby certify that on November 16, 2020, I electronically filed the foregoing Emergency
Motion for a Temporary Restraining Order and Preliminary Injunction and the Memorandum of
Law in support of the Emergency Motion for a Temporary Restraining Order and Preliminary
Injunction (collectively, the Motion and Memo) via e-mail to christine.coogle@mdd.uscourts.gov
and mdddb_civil_sealed@uscourts.gov, a copy of the Motion and Memo was provided to Andrew
Levander via electronic mail at andrew.levander@dechert.com whom I understand is Counsel for
Defendant Snyder. Pursuant to the Court’s procedures, I intend to cause paper copies of the Motion
and Memo to be deposited (under seal) in the Court’s drop box before 4:00 pm.

/s/

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